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 5                                 UNITED STATES DISTRICT COURT
                                  WESTERN DISTRICT OF WASHINGTON
 6                                          AT SEATTLE

 7 UNITED STATES OF AMERICA,                            )
                                                        )
 8                              Plaintiff,              )     Case No. CR09-184 RSL-3
                                                        )
 9          v.                                          )
                                                        )     DETENTION ORDER
10 KEVIN S. COLLINS ,                                   )
                                                        )
11                              Defendant.              )
                                                        )
12
     Offense charged:
13
            Theft of U.S. Mail.
14
            Conspiracy to Commit bank Fraud.
15
            Aggravated Identity Theft.
16
     Date of Detention Hearing: July 21, 2009.
17
            The Court, having conducted a detention hearing pursuant to Title 18 U.S.C. § 3142(f), and
18
     based upon the factual findings and statement of reasons for detention hereafter set forth, finds that
19
     no condition or combination of conditions which the defendant can meet will reasonably assure the
20
     appearance of the defendant as required and the safety of any other person and the community.
21
                 FINDINGS OF FACT AND STATEMENT OF REASONS FOR DETENTION
22
            (1)     Defendant’s lack of a stable residence;
23
            (2)     Defendant’s history of failing to appear with current outstanding warrant;

     DETENTION ORDER -1
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 1         (3)     Defendant’s history of failing to comply with court orders;

 2         (4)     Defendant’s substance abused issues; and

 3         (5)     Defendant’s recent travel to Mexico without proper identification.

 4         It is therefore ORDERED:

 5         (1)     Defendant shall be detained pending trial and committed to the custody of the

 6 Attorney General for confinement in a correctional facility separate, to the extent practicable, from

 7 persons awaiting or serving sentences, or being held in custody pending appeal;

 8         (2)     Defendant shall be afforded reasonable opportunity for private consultation with

 9 counsel;

10         (3)     On order of a court of the United States or on request of an attorney for the

11 Government, the person in charge of the correctional facility in which Defendant is confined shall

12 deliver the defendant to a United States Marshal for the purpose of an appearance in connection

13 with a court proceeding; and

14         (4)     The clerk shall direct copies of this order to counsel for the United States, to counsel

15 for the defendant, to the United States Marshall, and to the United States Pretrial Services Officer.

16         DATED this 21st day of July, 2009.

17

18                                        _/s/ J. Kelley Arnold____________
                                          J. KELLEY ARNOLD
19                                        United States Magistrate Judge
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     DETENTION ORDER -2
